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                                  Hearing Date & Time: December 9, 2021 at 2:00 p.m.
                                             Objection Deadline: November 26, 2021
                                                  Reply Deadline: December 2, 2021

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


                                                   Chapter 7
 In re ORLY GENGER,
                                                   Case No. 19-13895 (JLG)
       Debtor.


 DEBORAH J. PIAZZA, as Successor
 CHAPTER 7 TRUSTEE, of the Bankruptcy
 Estate of Orly Genger,

                                  Plaintiff,

 v.
                                                   Adv. Pro. No. 21−01180 (JLG)

 MICHAEL OLDNER, THE ORLY GENGER
 1993 TRUST, RECOVERY EFFORT INC.,
 SAGI GENGER, THE SAGI GENGER 1993
 TRUST, DALIA GENGER, ELANA
 GENGER, DAVID PARNES, D&K GP LLC,
 TPR INVESTMENT ASSOCIATES, INC.,
 MANHATTAN SAFETY MAINE, INC. and
 JOHN AND JANE DOES 1-100,

                                  Defendants.


                      NOTICE OF MOTION TO DISMISS OR,
                 IN THE ALTERNATIVE, TO STAY PROCEEDINGS

      PLEASE TAKE NOTICE that on December 9, 2021 at 2:00 pm, The Orly Genger

1993 Trust, by its trustee Michael Oldner, Recovery Effort, Inc., and Manhattan Safety

Maine, Inc. (together, “Movants”), by and through the undersigned counsel, will move

(the “Motion”) before the Honorable Judge James L. Garrity Jr., United States

Bankruptcy Judge, in the United States Bankruptcy Court for the Southern District of

New York, Courtroom 601, One Bowling Green, New York, New York 10004 or as soon
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thereafter as counsel can be heard, for entry of an order dismissing the complaint in the

above-captioned adversary proceeding pursuant to Federal Rule of Civil Procedure

12(b)(6), made applicable pursuant to Bankruptcy Rule 7012. In the alternative,

Movants will move for an order staying the above-captioned adversary proceeding until

the Court has ruled on the pending motion to approve settlement in the associated

bankruptcy case under Bankruptcy Rule 9019.

       PLEASE TAKE FURTHER NOTICE that a copy of the Motion is available for

inspection during normal business hours at the office of the Clerk of the United States

Bankruptcy Court for the Southern District of New York located at One Bowling Green,

New York, New York 10004, or may be obtained by contacting the undersigned counsel.

       PLEASE TAKE FURTHER NOTICE that responses and objections, if any, to the

Motion and the proposed order must be made in writing, conformed to the Bankruptcy

Rules and the Local Bankruptcy Rules for the Bankruptcy Court and be filed with the

Bankruptcy Court electronically in accordance with General Order M-399 (a copy of

which can be found at www.nysb.uscourts.gov, the official website for the United States

Bankruptcy Court for the Southern District of New York), by registered users of the

Bankruptcy Court’s case filing system and, by all other parties in interest, in Portable

Document Format (PDF), Microsoft Word, or any other word processing format (with a

hard copy delivered directly to Chambers) and shall be served upon: (i) counsel to

Movants, Pollock Cohen LLP, 60 Broad Street, 24th Floor, New York, New York 10004;

(ii) Deborah J. Piazza, Chapter 7 Trustee, Attn: Rocco A. Cavaliere, Esq., Tarter

Krinsky & Drogin LLP, 1350 Broadway, 11th Floor, New York, New York 10018; and

(iii) all parties who have filed a notice of appearance and request for service of
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documents, so as to be actually received by no later than November 26, 2021 (the

“Objection Deadline”).

      Dated: October 22, 2021
      New York, NY
                                        POLLOCK COHEN LLP


                                        By:   /s/ Max Rodriguez
                                            Adam Pollock
                                            Max Rodriguez
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                                        (212) 337-5361

                                        Attorneys for the Orly Genger 1993 Trust,
                                        by its Trustee Michael Oldner;
                                        Recover Effort Inc.; and
                                        Manhattan Safety Maine, Inc.
